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                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION


NIYONU SPAULDING,          )
                           )
    Movant,                )
                           )
Im                         )                     Case No. CV410-027
                           )                                 CR40 5-003
UNITED STATES OF AMERICA, )
                           )
    Respondent.            )

                  REPORT AND RECOMMENDATION

      Niyonu Spaulding moves the Court for 28 U.S.C. § 2255 relief. Doe.

125.' Upon preliminary review under Rule 4(b) of the Rules Governing

28 U.S.C. § 2255 Proceedings, her motion should be DENIED.

I. BACKGROUND

      Spaulding pled guilty to one count of a multi-count cocaine

conspiracy/distribution indictment and was sentenced to 188 months'

imprisonment for violating 21 U.S.C. § 841(a)(1). Does. 90, 91, & 102.

She then unsuccessfully appealed, doe. 102, and later unsuccessfully


      1
       Unless otherwise noted, citations are to the docket in movant's criminal case,
CR405-003.
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moved this Court for an extension of time within which to file a § 2255

motion. Doe. 104. Subsequently, she moved under 18 U.S.C. § 3582(c)(2)

and U.S.S.G. 1131.10(c), for a "crack-amendment" resentencing. Doe.

119. The district judge granted it, reducing her sentence to 176 months.

Doe. 124 (entered Feb. 24, 2009).

       If Spaulding was unhappy with the amount of the sentence

reduction then her remedy was to take a direct appeal from that ruling.

See, e.g., United States v. McNealy, 348 F. App'x 440 (11th Cir. 2009).

Yet, she did not. Doe. 125 at 4 (she excuses this by claiming "Law not

available at that time"). Instead, on February 2, 2010, she placed the

instant § 2255 motion in her prison's mail system. Doe. 125 at 12. In it

she contends, simply, that "liolin May 14, 2008; amendment 7162 was



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   Spaulding refers to an amendment that figured into her motion to reduce her
sentence
    under 18 U.S.C. § 3582(c)(2) based on Amendment 715 to the sentencing
    guidelines. Amendment 715 provided for a two-level reduction in the base
    offense levels for most offenses involving cocaine base and at least one other
    controlled substance. See U.S.S.G.App. C, Amend. 715 (Supp. May 2008);
    U.S.S.G. § 2D1.1 cmt. n.10(D)(i). Amendment 715 became effective on May 1,
    2008 and was made retroactive by Amendment 716. See U.S.S.G. § 1B1. 10(c).

United States v. Phillips, - F.3d       , 2010 WL 610883 at *1 (11th Cir. Feb. 23,
2010) (footnote omitted).
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made retroactive. When [her] Motion for Sentence Reduction was filed it

was not considered even though I addressed it in my motion." Id. at 4

(footnote added).

II. ANALYSIS

      Spaulding contends that "amendment 716 was made retroactive"

and when she moved to reduce her sentence "it was not considered...."

Doc. 125 at 4. Of course, "amendment 716" was not something for the

sentencing judge to "consider," for it simply made another Sentencing

Guideline amendment retroactive. See supra n 2. Construing her

pleading liberally, Sanders v. United States, 113 F.3d 184, 187 (11th Cir.

1997), the Court concludes that Spaulding is simply unhappy with the

amount of the sentence reduction she received, so she has basically filed

a pro forma § 2255 motion (which requires no filing fee) in the apparent

hope that somehow she will get something out of it.

      Procedurally, it is unclear whether Spaulding can even use § 2255

to challenge a § 3582 sentence reduction. 3 And if she could, she would


3 See McNealy, 348 F. App'x. at 442 (noting that "a § 2255 motion to vacate ..
allows for jurisdictional challenges, whereas § 3582(c)(2) is limited to determining
whether a defendant was sentenced based on a Guidelines range that has been
amended since his original sentencing."); United States v. Yearby, 323 F. App'x 790,
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likely be procedurally barred because she took no direct appeal from the

reduction ruling. Applying James, see n. 3 supra, however, it is not

necessary to reach those procedural issues because Spaulding's Motion

for Sentence Reduction in fact was considered -- the judge reduced her

sentence from 188 to 176 months. He explained that

   [t]he reduced sentence is within the amended guideline range;
   however, the Court will not depart below the amended guideline
   range based on the 5K1.1 motion filed before the original
   sentencing. The Court has considered all the sentencing factors set
   forth in 18 U.S.C. § 3553(a) and has determined 176 months is the
   appropriate sentence as the defendant poses a threat to the
   community.

Doc. 124 at 1.

      Again, Spaulding apparently is unhappy with the amount of the

sentence reduction she received. She raises no substantive argument on

that score (e.g., that the sentencing judge misread the record,

miscalculated something, or abused his discretion), and instead


793 (11th Cir. 2009) (a defendant "may not circumvent the requirements of 28 U.S.C.
§ 2255, as well as the provisions of the Antiterrorism and Effective Death Penalty Act
of 1996 ("AEDPA"), by attacking his conviction in an appeal from the grant of §
3582(c)(2) relief"). Faced with the task of sorting out whether a defendant properly
challenged his resentencing under § 2255, § 3582, 18 U.S.C. § 3742, or Fed. R. Cr. P.
35, the court in United States v. James, 323 F. App'x 746 (11th Cir. 2009), simply
assumed arguendo that § 2255 could be invoked then denied relief because it was
untimely filed. Id. at 748-50.
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conclusorily claims only that her motion was "not considered." It clearly

was. On the face of her pleading, then, the Court should DENY her 28

U.S.C. § 2255 motion.

     Applying the Certificate of Appealability ("COA") standards set

forth in Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb.

9, 2009) (unpublished), the Court discerns no COA-worthy issues at this

stage of the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1);

see Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (approving

sua sponte denial of COA before movant filed a notice of appeal). And, as

there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED. 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED this 29th day of

March, 2010.



                               UNITED STATES MAGISTRATE JUDGE
                               SOUTE[ERN DISTRICT of GEORGIA




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